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 1                                                           Chief Judge Ricardo S. Martinez
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 7                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 8
                                       SEATTLE, WASHINGTON
 9
10   UNITED STATES OF AMERICA,                      )   Case No.: CR19-203RSM
                                                    )
11                   Plaintiff,                     )
                                                    )   ORDER GRANTING MOTION TO
12           vs.                                    )   PROCEED WITH GUILTY PLEA
                                                    )   HEAIRNG BY VIDEO
13   RYAN LEE ISAKSEN,                              )   TELECONFERENCING
                                                    )
14                   Defendant.                     )
                                                    )
15                                                  )
                                                    )
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17
                                        I.    INTRODUCTION
18
             Before the court is Defendant Ryan Isaksen's motion to proceed with his guilty plea
19
20   hearing by teleconferencing. Plaintiff United States of America ("the Government") does

21   not oppose Mr. Isaksen's motion and is agreeable to a date during the week of October 26,
22   2020, if the court is available.
23
             The court has reviewed Mr. Isaksen's motion, the record in this matter and the
24
     applicable law. Being fully advised and finding oral argument unnecessary, the court
25
26   GRANTS Mr. Isaksen's motion, as more fully discussed herein.

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     ORDER ON MOTION BY RYAN ISAKSEN TO                   LAW OFFICE OF JENNIFER HORWITZ, PLLC
     PROCEED WITH GUILTY PLEA HEARING BY                              P.O. BOX 70859
     TELECONFERENCING- 1                                             Seattle, WA 98127
                                                                       (206) 799-2797
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 1                                      II.     BACKGROUND
 2          The Government charged Mr. Isaksen with one count of Conspiracy to Distribute
 3
     Controlled Substances in violation of 21 U.S.C. §841(b)(1)(A). He is charged with a
 4
     number of co-defendants after a lengthy investigation.
 5
 6          Trial in this matter is currently set for May 24, 2021 with a pretrial motions deadline

 7   of March 25, 2021. The trial date of November 30, 2020 was continued after the COVID-19
 8
     pandemic prompted the issuance of General Order 01-20 in this district. That order
 9
     continued nearly all hearings in both civil and criminal matters through at least March 31,
10
     2020. On March 17, 2020, citing guidance issued by public health officials, and
11
12   documented risks to public gatherings and travel, the United States District Court for the

13   Western District of Washington issued General Order No. 02-20. The order closed the
14
     courthouse to the public entirely and continued all criminal matters scheduled prior to June
15
     1, 2020, pending further order of the court. Several subsequent orders have been issued by
16
17   this Court.

18          General Order 04-20, provided for the use of video conferencing or telephone
19   conferencing for felony pleas under Fed.R.Crim.P. 11. Under this order, a phone or video
20
     conference plea is authorized, provided that the district judge in the particular case finds for
21
     specific reasons that the plea in that case cannot be further delayed without serious harm to
22
23   the interests of justice. See General Order 04-20(2).

24          The most recent order issued by this district is General Order 15-020. This order
25   continues the procedures established by prior orders 02-20 and 03-20 until January 1, 2021
26
     and provided for only one in-person criminal jury trial at a time in the courthouse "for the
27
     foreseeable future." That order allows individual judges to proceed with a "very limited
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 1   number of in-person hearings in felony criminal proceedings... by issuing orders on a case-
 2   by-case basis so long as such orders address the [aforementioned] public health concerns."
 3
            There is a continued effort on the part of this court to limit the number of in-person
 4
     hearings in this district out of continued public health and safety concerns.
 5
 6                                         III.    ANALYSIS

 7          The Federal Rules of Criminal Procedure make no provision for a defendant to enter
 8
     a guilty plea except while in open court. See generally Fed.R.Crim.P. Due to the COVID-
 9
     19 pandemic and the public health emergency, Congress enacted the Coronovirus Aid,
10
     Relief, and Economic Safety Act ("CARES Act"), which provides that certain criminal
11
12   proceedings may proceed by video teleconferencing during the COVID-19 national

13   emergency, including a guilty plea in a felony case. See CARES Act§ 15002. To do so, the
14
     Judicial Conference of the United States first must find that the COVID-19 emergency will
15
     materially affect the functioning of the federal courts generally or a particular court. Id.
16
17   §15002(b)(2)(A). It has done so. See Administrative Office of the Unites States Courts,

18   Judiciary News, Judiciary Authorizes Video/Audio Access During COVID-19 Pandemic
19   (March 31, 2020), https://www.uscourts.gov/news/2020/03031/judiciary-authorizes-
20
     videoaudio-access-during-covid-19-pandemic.
21
            On March 30, 2020, this Court fulfilled the second requirement of the CARES Act
22
23   for permitting guilty plea hearings via video teleconferencing when the chief judge entered a

24   finding that "felony pleas under Rule 11 of the Federal Rules of Criminal Procedure and
25   felony sentencings under Rule 32 of the Federal Rules of Criminal Procedure cannot be
26
     conducted in person without seriously jeopardizing public health and safety." See GO04-20
27
     at 2; see also CARES Act §15002(b)(2)(A). The court is also aware that the Federal
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 1   Detention Center is able to provide defendants with the opportunity to appear at hearings by
 2   video through Webex and such hearings have been taking place in this district for several
 3
     months.
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            Third, the CARES Act requires that the district court in the particular case must find
 5
 6   "for specific reasons that the plea...in that case cannot be further delayed without serious

 7   harm to the interests of justice." See CARES Act §15002(b)(2)(A); see also GO 04-20.
 8
     Accordingly, the court finds that, because Mr. Isaksen and the government have reached an
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     agreement concerning his plea, and for reasons set forth in Mr. Isaksen's motion, the plea
10
     hearing in this case "cannot be further delayed without serious harm to the interests of
11
12   justice." See CARES Act §15002(b)(2)(A). Absent intervention, Mr. Isaksen would not be

13   able to participate in a guilty plea hearing until at least January 1, 2021. See GO 15-020. In
14
     making this finding, the court places emphasis on how long the case has been pending, the
15
     reasonable practice of plea offer deadlines to avoid unnecessary motions and trial
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17   preparation by the parties, the long process Mr. Isaksen underwent to decide to accept the

18   plea offer and the need to continue to hear cases that can be heard while avoiding in-person
19   hearings that jeopardize public health and safety, when possible. The court also takes into
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     consideration that the government has no objection to proceeding with the plea by way of a
21
     video hearing.
22
23          ACCORDINGLY, THE COURT ORDERS that the plea hearing in this case be

24   conducted by video teleconference. The court FURTHER ORDERS that Mr. Isaksen's
25   change of plea hearing be conducted before a Magistrate Judge and that the Clerk set a video
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     teleconference hearing as soon as is practicable.
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                                       IV.       CONCLUSION
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            Based on the foregoing analysis, and within the specific parameters set forth above,
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 6   the court GRANTS Mr. Iasksen's motion to proceed with a guilty plea hearing via video

 7   teleconference before a Magistrate Judge.
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 9
10          DATED this 19th of October, 2020.
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14                                                A
                                                  RICARDO S. MARTINEZ
15                                                CHIEF UNITED STATES DISTRICT JUDGE
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